Case 1:04-cr-10050-.]DT Document 38

Filed 06/10/05 Page 1 of 2 Page|D 41

1§CJA 24 AUTHOR le'I`ION AND V OUCHER FOR PAYM ENT ()F TRAN SCRN‘T [Rev. 51‘99)

 

2. PERSON REPRESENTED

mOA/’€ gl/A/ WU

i. CIR,.‘DET,IDIV. CODE

 

VOL'CHER NU MBER

/’)Q.

 

 

3 MAG. DKT..'DEF. NUMBER

4.Drsr.011'r_rDNuMH1-:1!
m 1505

sri-fr

5( AF'PEALS DKT./DEF. NLFMBER 6, DTHER DKT. NUMBER

 

1 lN CASE»'M ATTER C|F (Cnte Nrm:c) S. PAYL'![ENT CATF.GORY

 

 

§§ Fclony t:l Petiy Ol’l'=n.w du[r Det'endanl [] Appn]]nnt (se¢ rnrrr¢m#om
Miademestnur L__I Other Juvl:niie Dcfbndnm m Appellec
[/(< Y moore fl Appenl l:| Othcr '

9. TYFE, I‘ERSON REPRESENTED l(l. RE?RESENTAT!ON TV¢'E

 

 

5¢§§» ¢M__ __ 4

    
 

' »
' ~é‘,/ n _ 1
\_ _» tr . .
ll pROCE-ED]NG IN WH[CHTRANSCR"‘T ISTO HE USED(DL'.IC|"|'D¢ brieij

`7,:,'1=9/ ;/) l/(-§

 

 

||. OFFE NSE(S] CHAR GE[& (Ci\u U.Sr C adm Tlllc & 5 ectiun] .'f wore limit one ojfm.rr.», 1'[.rr mp ra}'.ivc) major aji"cn.rns charged according n _¢¢\»Eri.¢y ¢,_fpf¢n;¢_

 
 
   
  
 

 

\D,‘§~/n`Q~/- 0 but Q`l"

 

 

Em

 

 

 

B. ,QExpedited E| Daily |`:l Hnut'ly 'Ii'anscri]:\t

l:.\ Rea]time Unedited Transcript

|3. FRDCEEDING TO BE TRANSCRIBED fD¢:scl'.'bc specifically NOTE f`he tr icri' rmmrr.'l gr.l.r me nat m mch.-dc prosecution opening s'ra.lem¢ni’l 'idef_at._fe'_np’i_,’¢r\'ng star enr`pra.\:q\:'yiorl
mgm-111 mr defense mgt-m ariz prosecution feb ulrm'. voir dire ar' jury hier actions mt loss specifics Ii'y authorized by lite Caurl (.rcc hem 14`). _~.| m _ _'_ “<
z C .~U <:) 1
l .
_,_L,¢Mressmn /\/Mr/,Qc; _-_,t :1-.-» §
srecmt AL?‘rHotuzM-iorrs 1__“¢.:~);,,;; ’ . ~_._
z,;%»; 'U.§§E S =~!"M
. ,h . . _ (_)- i_;___ .» 7
A. Apporhoned /a of transcript with (Gwe case name md Z Q k_> nj 1 ;J
m -‘ "

 

13 Defcnse Q:ening Stat»:ment |:| Defense Argumenr

C. |:| Pt'osecuticn Opening Slatement [`_`| Prosecutiat Argumen\ C| Prosecul:'nn Rcb\tttal
13 Voir Dirc

C\ Jury Inaructions

 

persons proceeding under the Ci‘iminal .Tustice Act.

D ln this mold-defendant msc, commercia\ duplication of transcripts will impede the delivery of accelerated transcript servicemen

 

 

l§. ATTORNEV`S STATEMENT

As me murray for the person rcpraacimd who is managed nbnv:, 1 hereby affirm that iltc
lrnnsc:`pt requested necessary ihr adequate rnpmncntntlcn ]l tlterci'ore, request
authorization 10 obtain the transcript services at thc expense of the Uni1ed Smtc: pursuant

the rminn| 111-mcc Acl.
/}AF/¢)}{~r ' 1 0 21:»1}‘{'~} _J
.‘rgr.nltlrc of Attnr'i{:'y nrc
illepr ue )/0 )€

Prlnv.~d Nnmc
\`c|cphonc Numbc!‘.
l"u\cl Altcmcy

 

|:! Rctain¢d A_ttnrncy m I’rn-Sc l:] Lega\| Orgnnizrttion

`11

SL*A . `
l`.'. COURT REPORTEUTRANSCRIB[: STAT\JS

g Ol`fic`lli m Cnnm\r.l m Transcriber l:l Olhcr

 

 

19. SOC|A[. SECURITY NUMBBR OR 'I.MI’LOYER [D NUMBER DF I‘AYEE

 

I\‘S. CDURT ORDER

Finum:inl cligibliity nfthl: person ruprencnt=d linvtng been csmbiis|\cd ca the Cmm’s
snlis¢iactinn thc authorization requested in lhm 15 is hereby gunted.

  
 

urc o Pn: ldlng Jud'lcinl Ofi'lcvr or By Ordcr orth¢ Co nn

Nunc l‘ro 'I‘um: Dntc

@W’S @®i@ii

lB. PAYEE‘ S NAME (1""{1:.1.'\¢'¢#11.-d Mi' I.asr Nnme; ruci:¢¢dhtgqny .rumx), ANT)
MAIL[NG ADDRESS

 
 
 

T¢lcphonc Numhnr‘
'_"_""_~_“"_""_

 

 

 

 

iNCLUDE LESS AMOUNT
20. RANSC - ..
'l` RJ}’T I'AGE NUMBERS NO. OF PAGES RATF. I*ER l‘AGE SUB TU‘|“AL AP"ORTEONED TOTAL
original
CGPY

 

 

 

 

Experrsc (!!emt'zej

 

 

TOTAL AMO UNT CLAIMED:

 

 

2| CLAIMANT’S EERT!F[CAT‘IUN OF SERV|CE PR{]VIDED

for these scr\»'icenr

Signature of

 

l hereby certify lhnl the above claim is for services rendered and is cnrrcct, and that l have nut sought or received pnymeri t (camp¢-u.mrion or anyih#:g nfvn.!ue) from any other source

 

 

 

. 1 5 7
. cenrrrrcA`-rmw or Ar'Fo umw oct atm

 

 

  
  

 

 

  

~=¢»i

 

mr 1 1143 1 ~. 14
24. AMOUNT APFROVED

 

 

Signatttre of Judicial Of?rger or Clerk of Court

Date

 

 

BERK'S Elii’i

/§‘5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 1:04-CR-10050 Was distributed by faX, mail, or direct printing on
J unc 13, 2005 to the parties listcd.

 

 

J eff Mueller

LAW OFFICES OF JEFF MUELLER
P.O. Box 3146

Jackson, TN 38303

J ames W. Pchll

U.S. ATTORNEY'S OFFICE
109 S. Highland Avc.

Ste. 300

Jackson, TN 38301

Honorablc J ames Todd
US DISTRICT COURT

